       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:


    1. Clayton George Smith
       v. Commonwealth of Virginia
       Record No. 0724-14-4
       Opinion rendered by Judge Humphreys on
        October 13, 2015

    2. Brian Jeffrey Turner
       v. Commonwealth of Virginia
       Record No. 1309-14-4
       Opinion rendered by Judge Humphreys on
        October 27, 2015

    3. Robert Jeffrey Kobman
        v. Commonwealth of Virginia
        Record No. 1451-14-2
        Opinion rendered by Senior Judge Clements on
        October 27, 2015

    4. Geoffrey Narcisco Rivera
        v. Commonwealth of Virginia
        Record No. 1931-14-1
        Opinion rendered by Judge Chafin on
        November 10, 2015

    5. Antonio Hall, a/k/a Antonio Barrow
        v. Commonwealth of Virginia
        Record No. 2141-14-1
        Opinion rendered by Judge Beales on
        November 10, 2015

    6. Cris R. Anderson
        v. Cris R. Anderson, d/b/a Anderson Plumbing and Firstcomp Insurance Company
        Record No. 0697-15-2
        Opinion rendered by Judge Russell on
        November 10, 2015
7. Robert Lee McLaughlin, Jr.
    v. Commonwealth of Virginia
    Record No. 1187-14-1
    Opinion rendered by Judge Beales on
    November 17, 2015

8. Donna Marie Porter
    v. Commonwealth of Virginia
    Record No. 1374-14-2
    Opinion rendered by Judge Alston on
    November 17, 2015

9. William Edward Freeman, Jr.
    v. Commonwealth of Virginia
    Record No. 2302-14-4
    Opinion rendered by Judge Petty on
    November 17, 2015

10. Traer Ramon Tisdale
    v. Commonwealth of Virginia
    Record No. 2138-14-1
    Opinion rendered by Judge O’Brien on
    November 17, 2015

11. Kirk T. Milam
    v. Sheila J. Milam
    Record No. 0079-15-4
    Opinion rendered by Judge Petty on
    November 17, 2015

12. Claude Davis
    v. Commonwealth of Virginia
    Record No. 0693-14-1
    Opinion rendered by Judge Beales on
    November 24, 2015
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Virginia Marine Resources Commission
   v. Chincoteague Inn and Raymond Britton Enforcement, ex rel. Courtney T. Newsome
   Record No. 0086-12-1
   Opinion rendered by Senior Judge Frank
    on August 14, 2012; order upon remand entered on November 4, 2014
   Refused (141732)

2. Gene Anthony Brown
   v. Commonwealth of Virginia
   Record No. 0269-13-3
   Opinion rendered by Chief Judge Huff
    on November 4, 2014
   Refused (141753)

3. Jabril Jamal Holliday
    v. Commonwealth of Virginia
   Record No. 2003-13-1
    Opinion rendered by Judge McCullough
     on December 30, 2014
    Refused (150176)

4. Antwain Maurice Jones
   v. Commonwealth of Virginia
   Record No. 0087-14-4
   Opinion rendered by Judge Beales
    on February 18, 2015
   Refused (150448)

5. Hugo Alberto Sandoval
   v. Commonwealth of Virginia
   Record No. 1554-13-4
   Opinion rendered by Judge Alston
    on February 24, 2015
   Refused (150428)

6. Joquan Wayne Hawkins
    v. Commonwealth of Virginia
   Record No. 0908-14-2
    Opinion rendered by Senior Judge Haley
     on April 21, 2015
    Refused (150777)
7. Andre Eugene Sanders
   v. Commonwealth of Virginia
   Record No. 1386-14-1
   Opinion rendered by Judge Decker
    on May 26, 2015
   Refused (150903)

8. Steven Lamont Forte
   v. Commonwealth of Virginia, Department of Social Services, Division of Child Support
   Enforcement, ex rel. Courtney T. Newsome
   Record No. 1220-14-1
   Opinion rendered by Judge McCullough
     on June 9, 2015
   Dismissed pursuant to Code § 17.1-410(A)(3) and (B)
